AO Ol [Rev. 08/[)9} Criml`nal Comp|alnt

UNITED STATES DISTRICT COURT

 

for the
Northern District of California h
United States of America ) 40
v. )
) Case No.
) 3 a 1 4 - 7 1 1 4 0 LB
LUIS FAR|D GONZALEZ )
)
Defendanr(s)
CRIMINAL COMPLAINT

l, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

 

On or about the date(s) of Auqust 1, 2014 in the county of San Mateo in the
Northern DiSfriCt Of Ca|ifornia , the defendant(s) violated:
Code Section Ojfense Descrz`ption
Tit|e 21, United States Code, Possession with intent to distribute more than 1.000 kilograms of marijuana

Section 841(3). (b)(1)(A)

Title 21, United States Code, Conspirac},r to possess with intent to distribute and distribute more than 1,000
Section 846, 841(b)(1}(A} kilograms of marijuana

This criminal complaint is based on these facts:
See attached affidavit of Specia| Agent Patrick Jones

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\-/ Complai'nam s sign

Patrick Jones Specia| A@
Pri`n.red name and title

Sworn to before me and signed in my presence
Date: BW D{w[`/( <:/ Q

Judge’ s signature

 

City and state: San Francisco, Ca|ifornia United States Magistrate Judge
Printed name and rifle

 

A() 91 (Rev, 081'09) Criminal Cornplaint

UNHEDSBHESDBTNCTCOURI

for the

Northern District ot` California M

 

United States of America )
v. )
) Case NO. 3 1 _

) 4 71140 LB
MAR|O GONZALEZ )
)

Defendant(r)
CRIMINAL COMPLAINT

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Northern DiSfl‘in Of _______ Califom_i_@ , the defendant($) ViOla'ted:
Code Section Offense Descriplion
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SeCtiOn 841 (a), (b)(‘l)(A)

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Patrick Jones Speci |Aqe DHSIHS|

Frmiea' name e

Sworn to before me and signed in my presence.

 

 

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City and state: San Francisco, Ca|ifornia United States |Vlaqistrate Judqe
Prinred name and title

 

AO 91 (Rev. 08/09} Criminal Complaint

UNITED STATES DISTRICT COURT

for the
Northem District of California

 

United States of America ) MA
v_ ) G
§ CaseNo, 3__.14_71140
JUAN HERNANDEZ )
t LB
Dej%ndam(s)
CRIMINAL COMPLAINT

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See attached affidavit of Specia| Agent Patrick Jones

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Date: gf ?/b":§ f

City and state: San Francisco, Ca|ifornia United States |V|aqistrate Judge

 

Printed name and title

 

AO 91 (Rev. 08!09) Criminal Complaint

UNITED STATES DISTRICT COURT

for the 1
Northem District of Calit`ornia 4 0

United States ol`Arnerica
v.

3M14»71140

Case No.

JUAN VALDEZ LOPEZ

 

Defendam(s) L B

CRIMINAL COMPLAINT

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Sworn to before me and signed in my presence.

 

 

Date: '§f_Z__S!WLL/\s
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City and state: San Francisco, California United States Magistrate Judge
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AO 91 (Rev. 08!09) Criminai Cornplaint

UNITED STATES DISTRICT CoURT

for the
Northern District of California

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United States of America )
v. )
§ CaseNo.3__14.,7]-140

LU|S ESP|NOZA MENDOZA )

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Defendam(s) ‘. 3
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CRIMINAL COMPLAINT

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This criminal compfaint is based on these facts:
See attached affidavit of Special Agent Patrick Jones

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Compiainant sw
Patrick Jones, Specia q SIHS|

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Date: 5 2 10

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City and state: San Francisool Ca|ifornia United States Magistrate Judge
Prin!ed name and title

 

A() 91 (Rev. 08/[}9) Criminal Comp|aint

UNITED STATES DISTRICT COURT

for the
Nonhern District of Ca|ifornia

 

United States of America )
V- ) 4 14
) Case No. AG
ESTEBAN FLORES SALAZAR ) 3 _...
)
Defendant_fs) ](
CRIMINAL COMPLAINT 6

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Date: 81 2& l l 1 v

Judge ’s signature

 

City and states San Francisco, Ca|ifornia United States |V|agistrate Judqe
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.AO 91 [Rev. 081'09) Criminal Complaittt

UNITED STATES DISTRICT COURT

for the
Northern District of Ca|ifornia

 

 

 

United States of America )
v. ) '
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JOAN S|CAFROS )
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Patrick Jones. Special A en DHStHS|
Pr'inted name andW

Sworn to before me and signed in my presence

Date: '? 243 /

 

\""'"'/ J Judge `.r signature

City and state: San Francisco, Ca|ifornia United States |Vlagistrate Judge
Printea' name and title

 

AO 91 (Rev. 08109) Crimina| Complaint

UNITED STATES DlsTRlCT COURT

for the
Northern District of California

United States of America LB
v.
Case No.

MARK R|CHARD TE|XE|RA

 

Defendanr(s)
CRIMINAL COMPLAlNT %G

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Camptain%®
Patrick Jones Speci | qent DHSJHS|

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Swom to before me and signed in my presence.
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Date: q b l

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City and state: San Francisco, California United States Nlagistrate Judge
Printed name and title

 

AO 91 [Rev_ 08/09) Criminal Comp|aint

UNITED STATES DISTRICT COURT

for the
Northern District of California

United States of America
v.

Case No.

PH|N YO VORN

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Defendant(s) M

CRIMINAL COMPLAINT

 

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This criminal complaint is based on these facts:

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Patrick Jones speci£i Aqent oHstHsi
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Sworn to before me and signed in my presence.

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City and state: San Francisco, Ca|ifornia United States |‘vlagistrate Judge

 

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MELINDA HAAG (CABN 132612) -. ij n
United States Attorney iam 4 . ,
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J. DOUGLAS WILSON (DCBN 412811) ,_,t 2 t.- 5
Chief, Criminal Division »_,.‘?§'§-`»Tr"'{,i"',i?‘:"?' ry F_,,f_, 7
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MATTHEW L. MQCARTHY (CABN 217871) ` ' "* €'-ii‘§i:`;‘j»?r_

Assistant United States Attorney
450 Golden Gate Avenue, Box 36055
San Francisco, California 94102-3495
Telephone: (415) 436-72 00
Fax: (415) 436-7234
Matthew.McCarthy@usdoj . gov

Attorneys for United States of America m 0
UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

sAN FRANCISCO DIVIsIoN .LB
UNITED states or AMERICA, CASE No.
3 ... 1 4 - 7 1 1 4 0
Plaintiff,
CoMPLAn\n AFFIDAVIT

v.
LUIS FARID GONZALEZ,
MARIO GONZALEZ,

JUAN HERNANDEZ,

JUAN VALDEZ LOPEZ,

LUIS ESPINOZA MENDOZA,
ESTEBAN FLORES SALAZAR,
JOAN SICAIROS,

MARK RICHARD TEIXEIRA,
and

PHIN YO VORN,

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1, Patrick R. Jones, Special Agents of the Department of Homeland Security, being duly sworn,

state :

INTRODUCTION AND AGENT BACKGROUND

l. 1 am an “investigative or law enforcement officer of the United States” Within the
meaning of Section 2510(7) of Title 18, United States Code, that is, an officer of the United States Who
is empowered by law to conduct investigations of and to make arrests for offenses enumerated in Title
18, United States Code, Section 2516.

2. Since March 7, 2004, 1 have been employed as a Special Agent with lmmigration and
Customs Enforcement, Homeland Security Investigations (“ICE/HSI”), and am currently assigned to the
office of the Special Agent in Charge, San Francisco, California. My prior assignments included the
Human Smuggling and Traff'tcking Group, the Contraband Smuggling Group, and the Border
Enforcement Security Task Force, among other assignments While serving as an ICE/HSI Special
Agent, I have participated in numerous investigations including, but not limited to, narcotics trafficking,
human smuggling, human trafficking, prostitution, money laundering, other financial crimes, and
immigration violations My training includes the Criminal Investigator Training Program, lmmigration
and Customs Enforcement Special Agent Training Program at the Federal Law Enforcement Training
Center in Glynco, Georgia, which lasted over five months and covered numerous law enforcement
topics. l have also attended many conferences, seminars, and in»service training courses sponsored by a
variety of professional organizations and law enforcement agencies My additional prior experience and
training includes a Bachelor of Arts degree from the University of South Florida, with a major in
Criminology; graduation from the Manatee County Law Enf`orcement Academy; internships with the
Florida Department of Law Enforcement; and employment as a Narcotics Detective with the
Okeechobee County Sheriff’s Of`flce in Fiorida.

3. l submit this affidavit in support of a criminal complaint charging LUIS FARID
GONZALEZ, MARIO GONZALEZ, JUAN HERNANDEZ, JUAN VALDEZ LOPEZ, LUIS
ESPINOZA MENDOZA, ESTEBAN FLORES SALAZAR, JOAN SICAIROS, MARK RICHARD

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TEIXEIRA, and PHIN YO VORN (collectively, “the defendants”) With violating Title 21, United
States Code, Sections 841 (a)(l), (b)(l)(A) (possession with intent to distribute marijuana more than
1,000 kilograms of marijuana) and 846 (conspiracy to possess with intent to distribute and distribute
more than 1,000 kilograms of marijuana). lt is my understanding that the elements of Section 84l(a)(l)
are:
a. The defendant knowingly manufactured marijuana; and
b. The defendant knew that it Was marijuana or some other prohibited drug.
lt is my understanding that the elements of Section 846 are:
a. There was an agreement between two or more people to possess with the intent to
distribute and/or distribute marijuana; and
b. The defendant entered into that agreement knowing its purpose and intending to help
accomplish that purpose
4. The facts in this affidavit come from my personal observations, my training and
experience, and information obtained from other agents and witnesses This affidavit is intended to show
merely that there is sufficient probable cause for the requested complaint and warrants and does not set
forth all of my knowledge about this matter
FACTS SUPPORTING PROBABLE CAUSE
Initial Inforrnation Regarding lnbound Suspected Smuggling Vessel
5. Early in the week of July 28, 2014, Department of Homeland Security (DHS), Homeland
Security investigations (HSI) agents received reports from the U.S Coast Guard of possible maritime
smuggling activity off of the coast of California. Specifically, Coast Guard aerial surveillance assets
observed several vessels in the territorial water of Mexico approaching the territorial waters of the
United States. On or about July 29, 2014, the U.S. Coast Guard apprehended two vessels, seizing fuel
from one and approximately 12,000 pounds of marijuana from the other. The Coast Guard reported that
another of the vessels observed during the week remained at sea, with a heading toward the central or
northern coast of California. HSI offices throughout the region were placed on alert.
6. On August l, 2014, HSI agents went to the coastal area between Santa Cruz and San

Mateo Counties, in the Northern District of California, to conduct a counter-maritime»smuggling

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operation Based on the information provided by the Coast Guard, as well as information regarding
prior smuggling operations over the previous 18 months, agents suspected that the vessel being tracked
by the Coast Guard was involved in marijuana smuggling

7. HSI agents, assisted by other DHS agents and task force officers (TFOS), set up
surveillance points between Wilder Ranch State Park and Ano Nuevo State Park. Both locations were
sites of previous marijuana smuggling “off-loads.” Surveillance crews were looking for possible “off-
load crews” - people who receive the marijuana from smuggling vessels, and load it into trucks for
transportation and distribution For this reason, the agents were looking for large-capacity vehicles,
capable of secreting and hauling large loads of marijuanal Specifically, they were advised to look for
SUVs, U-Haul trucks, rental RVS, Work vans, and similar vehicles. As the operation progressed, various
state, local, and federal law-enforcement agencies lent assistance
Surveillance of Suspects Vehicles and Persons

8. Around 8:55 p.m. on August l, surveillance units near Davenport, California observed a
U-Haul van arrive at their location. Agents observed that three Hispanic males occupied the U-Haul
van. The U-Haul van entered the parking lot of a nearby restaurant, where it was met by another
Hispanic male, who approached on foot. He directed the U~Haul van to back into a parking space. The
U-Haul van did so, and the occupants remained in the van with the engine running. Agents then
observed a second vehicle in the parking lot, which was a white-colored work van,

9. Shortly after the U-Haul’s arrival 2-3 more male subjects arrived and met with the
occupants of the U-Haul van. The group of men then Walked across the street to the beach, and were
seen lighting off three airborne fireworks (bottle rockets) from the beach before walking back to the
parking lot. The group was only on the beach for 15-30 minutes total. Based on the observations to this
point, agents suspected that the fireworks were intended to be a signal to a boat at sea.

10. As the evening progressed, agents received more information from the Coast Guard
regarding the position of a large, fast-moving vessel. The Coast Guard indicated that the vessel was
heading toward Ano Nuevo State Park. The surveillance teams then divided into two groups: one near
Ano Nueve State Park, and one remaining with the suspect vehicles and subjects in Davenport.

ll. Between 9:30 and 10:00 p.m., when the vessel was reported to be approximately 15

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minutes from Ano Nuevo State Park, the subjects in Davenport entered the U-I-Iaul and white van . The
vehicles departed the parking lot and headed north-bound on Highway i. Around 10:15-10:30 p.rn., the
vehicles entered the Whitehouse Creek entrance to Ano Nuevo State Park, and drove onto a trail headed
for the beach. The surveillance teams then took up positions along Highway l in the area where the
vehicles entered the state park. During this time, the Coast Guard confirmed a radar signature consistent
with the suspected drug smuggling vessel’s just off the Ano Nuevo shoreline.

High-Speed Pursuit and Capture of Six Suspects

12. After more than two hours, the suspect vehicles drove back from the beach toward the
entrance of the park. The entrance of the park had been blocked by an unmarked law-enforcement
vehicle, and there were numerous law-enforcement officers at the scene. When the drivers of the
suspect vehicles approached the gate, they accelerated and crashed through the fence, fleeing at high
speed. A high-speed chase then ensued, with the suspect vehicles being pursued by numerous law-
enforcement agencies At this time, several suspects were also seen fleeing on foot back toward the
beach.

13. The white van drove for approximately one half of a mile before the driver abandoned it
and tied on foot. (It is possible that more than one occupant fled the white van at this time.)

l4. The U-Haul van continued southbound on Highway l at speed exceeding 100 miles per
hour, while being pursued by law-enforcement vehicles with active emergency lights and sirens. As the
U-Haul van approached the Scott’s Creek area of Santa Cruz county, several emergency vehicles with
activated lights were blocking the Highway. (These turned out to be fire rescue trucks fighting an
unrelated brush fire.) These vehicles prevented the U-Haul from continuing, and the driver stopped the
van.

15. Agents ordered the driver to exit the vehicle, which he eventually did. He was then taken
into custody. Agents observed that the driver’s jeans and shoes were soaking wet and covered in sand
(as though he had been wading in surf). The driver of the U-Haul van was identified as LUIS
ESPINOZA MENDOZA.

16. A protective sweep of the U-Haul van revealed that the driver was the only occupant

However, the van was completely loaded with large cube-shaped bundles, and the odors of marijuana

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and gasoline emanated from the U-Haul van. A further search of the U-Haul van revealed numerous
bales of marijuana, as well as a small boat motor, wet clothing, and cellular telephones

17. Examination of the white work van (which had been abandoned at this time) revealed that
it was also fully loaded with bales of marijuana

18. The total amount of marijuana seized from the vehicles was in excess of 5,000 pounds.

19. Agents then conducted a sweep of the beach in an attempt to locate the suspects that had
fled. Agents were able to find and detain five additional suspects at this time: LUIS FARID
GONZALEZ, MARIO GONZALEZ, ESTEBAN FLORES SALAZAR, JOAN SICAlROS, and MARK
RlCHARD TElXEiRA. These five, in addition to MENDOZA, were arrested and transported to San
Mateo County Jail.
Interviews With Defendants

20. At the jail, all six suspects were advised of their Miranda ri ghts. LUIS FARID
GONZALEZ and MARIO GONZALEZ invoked their rights and declined to speak with agents.
SALAZAR, SICAIROS, TEIXEIRA, and MENDOZA signed waivers of their rights, and gave
statementsl

21. MENDOZA explained to the agents that he had come to the United States three months
earlier, with the assistance of a “coyote” (an alien smuggler). He had agreed to help the coyote smuggle
drugs into the United States in order to pay off the price of coming to the United States. He also
indicated that he would be paid an undisclosed sum of money for his assistance MENDOZA told the
agents that he came to the area in the white work van with another person, who was not apprehended
He continued that the group of men had come to meet a boat full of marijuana, and to off-load the
contents of that boat. He indicated that he did not know the destination of the marijuana He further
explained that the men off-loaded the boat by passing bales in a chain, from person to person, from the
boat to the vehicles.

22. SALAZAR explained to the agents that he was from Sinaloa, l'vlexico, and that he was
one of four men who had driven the boat full of marijuana from Mexico to California. l-le explained that
he was a deckhand on the boat, along with another man, and that two others navigated and drove the

vessel. He indicated that the two men who navigated and drove the vessel were not among the six

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arrested by the police that night. SALAZAR told agents that he became involved with the smuggling
effort through a friend. He explained that, in exchange for his assistance with the smuggling operation,
he would be smuggled into the United States, and paid $3,000. SALAZAR admitted that he knew the
vessel contained marijuana

23. SICARIOS also admitted that he came on the boat from Mexico. He said that he did not
have to pay for the journey on the boat, but denied being paid any additional money. He also stated that
there were four people on the boat, and that they had come from Mexico in about 5 days.

24. TEIXEIRA stated that he lives in San Jose, Califomia, and was offered the “job” of
unloading the marijuana through a friend-of-a-friend. He stated that he was told to pick up the U-Haul
van and bring it to Davenport. He would then follow the other van. He admitted to helping to carry
packages that smelled like marijuana and gasoline. He believed that the eventual destination of the van
was Los Angeles. TEIXEIRA said he was to be paid $3,000 for his work.

Location and Arrest of Three Additional Suspects

25. On August 2, 2014, at approximately 10:15 a.m., Califomia Park Ranger Baille observed
three men walking southbound on Highway 1 approximately one mile north of the entrance to Ano
Nuevo State Park. Ranger Baille had been informed on August 1 about the suspected smuggling
operation, and had been instructed to look out for suspicious persons or activities Ranger Baille
observed that the men were walking on an isolated stretch of road, and that no vehicles were visible for
over ‘/2 mile in either direction. The men had soiled or sandy clothing, two of the men had pants that
appeared to be Wet below the knees, and one of the men had no shoes.

26. Ranger Baille stopped the men to conduct a welfare check and investigate further. She
asked the men if they were ok, and what they were up to. One of the men, later identified as PHIN
VORN, said that he was “just walking” and saw the other men and decided to follow them to a phone.
The other two men did not speak English. Ranger Baille spoke to them in Spanish, and they indicated
that they were Mexican nationals, and had no valid U.S. identification

27. At this point, Ranger Baille’s supervisor informed her by radio that there were suspects
from the previous evening who had fled on foot, and had not been apprehended Ranger Baille detained

the three men, and called for back-up units. The two Mexican nationals were later identified as JUAN

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HERNANDEZ (of Sinaloa, Mexico) and JUAN VALDEZ LOPEZ (of Ensenada, Mexico).

28. San Mateo County Sheriff’s Deputy Moore arrived to assist Ranger Baille. He was
aware that suspects from the previous evening had fled. He noted that the suspects were dirty and wet,
and that one did not have shoes. He also noted that they were found on a remote stretch of road without
any means of transport or equipment for hiking or backpacking. He noted that they did not have food,
water, money, or any means of buying supplies Based on his observations and their appearance, he
believed that they were the suspects who had fled police the previous evening, and placed them under
arrest. They were then transported to the San Mateo County substation in Half Moon Bay.

29. A criminal background check of LOPEZ revealed that he had been arrested on December
25, 2013 for possession of marijuana for sale and transportation of marijuana in San Luis Obispo,
Califomia. Upon further investigation of this arrest, l am informed and believe that LOPEZ was
arrested at that time while smuggling marijuana into the state by boat.

30. Upon arriving at the substation, Deputy Moore was informed that one of the men
detained the previous evening had told officers that a Cambodian man named “Phin” had fled with two
Hispanic males when the police arrived.]

31. Based on the observations of the defendants’ appearance and location, the statements of
the other defendants, and LOPEZ’ criminal record, l believe that VORN, HERNANDEZ, and LOPEZ
were all involved in the smuggling operation, In particular, l believe that HERNANDEZ and LOPEZ
were the two men responsible for piloting and navigating the boat from Mexico to California.

32. On August 2, 2014, the Coast Guard recovered an abandoned 40’ long “panga” boat at
sea approximately 7 miles from the landing site at Ano Nuevo State Park. This type of open boat is
consistent with vessels used to smuggle marijuana from Mexico into Califomia. Based on my training
and experience, l am aware that these vessels are often abandoned or sunk once the marijuana is
delivered. Based on the type of vessel, its location, and the timing of the discovery, l believe that the
vessel recovered by the Coast Guard on August 2, 2014 was the vessel used to deliver the marijuana

seized on August 1, 2014 in the area of Ano Nuevo State Park.

 

' l am aware of the identity of the defendant who provided this infonnation. However, in order
to protect that defendant from possible retaliation, l am not including his name in this public document

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State Court Proceedings

33. All nine of the defendants described above were charged in San Mateo County Superior
Court with felony transportation of marijuana in violation of California Health & Safety Code section
1 1360(a) and felony possession of marijuana for purpose of sale in violation of Califomia Health &
Safety Code section 1 1359 on August 4, 2014.
34. On August 13, 2014, the following defendants pleaded nolo contendere to felony
transportation of marijuana:
a. MARK RlCHAR_D TEIXEIRA,
b. ESTEBAN FLORES SALAZAR,
c. LUIS ESPINOZA MENDOZA,
d. JOAN SICAIROS, and
e. LUIS FARID GONZALEZ.
Each of the defendants was sentenced to one year in jail. The remaining defendants have pleaded not
guilty to those charges.
Summgr_'y
35. Based upon all of the above, l believe that the nine defendants identified herein were
involved in a conspiracy to import over 5,000 pounds of marijuana from Mexico to the United States, to
possess that marijuana with the intent to distribute it to others, and to distribute it to others. l further
believe that the defendants did in fact possess the marijuana with the intent to deliver it to others. l
believe that the defendants had the following roles:
a. Boat Crew
i. JUAN HERNANDEZ,
ii. JUAN VALDEZ LOPEZ,
iii. ESTEBAN FLORES SALAZAR, and
iv. JOAN SICAIROS.
b. Off-load Crew / Drivers
i. LUIS ESPINOZA MENDOZA,
ii. LUIS FAR_lD GONZALEZ,

 

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iii. MARIO GONZALEZ,
iv. MARK RICHARD TEIXEIRA, and
v. PI~IIN VORN.

CONCLUSION
36. Based upon the facts set forth in this affidavit, l submit that there is probable cause to
believe that each of the defendants described above violated Title 21, United States Code, Section 841
(a)(l), (b)(l)(A) and 846, possession of over 1,000 kilograms of marijuana with the intent to distribute
and conspiracy to possess with intent to distribute and to distribute over 1,000 kilograms of marijuana
37. I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge and belief.

\ '”"\
fagg v
Patrick R. Jones

Special Agent
Department of Homeland Security

v/
Sworn to l© his

' day ofAugust, 2014.
Hbuoie(sts ilAuREL BEELER
United States Magistrate Judge

 

  

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PENALTIES AS TO EACH DEFENDANT:

 

Violation

Statutory Penalties

 

21 u.s.C. § 841(8)(1),(15)(1)(21)

lmprisonment of no less than 10 years and no
more than life

A term of supervised release of no less than 5
years and no more than life

A fine of up to $10,000,000
A special assessment of 8100

Deportation if not a citizen of the United States

 

 

21 U.s.C. § 846, 841(15)(1)(14)

 

lmprisonment of no less than 10 years and no
more than life

A term of supervised release of no less than 5
years and no more than life

A fine ofup to $10,000,000
A special assessment of $100

Deportation if not a citizen of the United States

 

 

